      Case 2:23-cv-00233-TOR      ECF No. 25    filed 01/23/24   PageID.252 Page 1 of 2




 1                                                                             FILED IN THE
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON

 2
                                                                      Jan 23, 2024
 3                                                                        SEAN F. MCAVOY, CLERK




 4

 5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    ARNAUD WEBER,
                                                    NO: 2:23-CV-0233-TOR
 8                              Plaintiff,
                                                   ORDER OF DISMISSAL WITH
 9          v.                                     PREJUDICE

10    X CORP., ELON MUSK, LINDA
      YACCARINO, and JOHN/JANE
11    DOES III-V,
                        Defendants.
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15         BEFORE THE COURT is the parties’ Stipulated Motion to Dismiss. ECF

16   No. 24. The parties agree that the above-captioned action should be dismissed in

17   its entirety, with prejudice, and with each party bearing its own fees and costs. The

18   Court has reviewed the record and files herein and is fully informed.

19         According to Rule 41(a)(1)(A)(ii), a plaintiff may dismiss an action by filing

20   a stipulation signed by all parties who have appeared.



     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
      Case 2:23-cv-00233-TOR      ECF No. 25     filed 01/23/24   PageID.253 Page 2 of 2




 1   ACCORDINGLY, IT IS HEREBY ORDERED:

 2      1. Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ stipulation, this action is

 3         DISMISSED with prejudice and with each party bearing its own fees and

 4         costs.

 5      2. The STAY is lifted for purposes of entering this Order.

 6         The District Court Executive is directed to enter this Order and Judgment of

 7   Dismissal, furnish copies to counsel, and CLOSE the file.

 8         DATED January 23, 2024.

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10                                  THOMAS O. RICE
                                 United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
